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                           IN THE UNITED STATES DiSTR:CT COuRT
                              FOR THE DiSTR:CT OF COLORADO

     cnmina:ActiOn No ll‐ cr‐ 00430‐ CMA

     UNITED STATES OF AMERiCA,

            Plainlt

     V

     2.    MARIE DALTON,
            Defendant.


                                        PLEA AGREEMENT

            The United Slates of America (the government), by and through Christine E.

     Kenney and Richard L. Hathaway, Special Counsel for the District of Colorado, and the

     defendant, Marie Dalton, personally and by counsel, Thomas E. Goodreid, submit the

    following Plea Agreement pursuant to D.C.COLO.LCTR 11.'l and Fed. R. Crim. P.

     t 1(c)(1)(B). lt is a condition of this Plea Agreement that the Court accept the terms of

    the Plea Agreement between co-Defendant Richard Dalton and the government.

    Should the Court reject that Plea Agreement, Defendant Marie Dalton shall have the

    right to withdraw her guilty plea under this Plea Agreement.

                                         I. AGREEMENT

           The defendant agrees to plead guilty to Count One of the lndictment, charging a

    violation of 18 U.S.C. g 371 , Conspiracy to Commit Mail Fraud, Wire Fraud, and Money

    Laundering. The defendant does so knowingly and volunlarily. ln return, at the time of



                                            GOVERNMENT                                 COURT EXH:B!T
                                               EXHIB:T                                           1

                                                  1
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    sentencing,the goVernment agrees tO diSmiSS COunts TWO thrOugh Nineteen ofthe

    lndictment pending againstthe defendant ThiS plea agreementis subnlitted pursuant

    to Fed.R.Cnm P ll(c)(1)(Al and(Cl(1)(B)

           The government agrees that,proVided the defendant dOes nothing inconsistent

                                                 een the entry of her plea of gunty and
    with her acceptance of responSib‖ ity bet″

    sentencing,it wi‖ lle a mOtiOn Seeking a three(3)leVel reduCtiOn in the Offense ievel

                                                                3El l(a)and(b).
    based On acceptance of reSponSib‖ ity under u S S G§

                                ‖.ELEMENTS OF THE OFFENSE(Sゝ

           Thepartiesagreethattheelementsoftheoffensetowhichthispleaisbeing

     tendered are as follows:
                                                                       371 are:
           The elements of Conspiracy in viotation of 18 U'S'C $
                                                                   person to violate the law'
           A.     the defendant agreed wiih at least one other
                                                                  one overt act furthering the
           B.     one ofthe conspirators engaged in at least

                   consPiracY's objective'

            C. the defendant knew the essential obiective of the conspiracy'
            D. the defendant knowingly and voluntarily participated'
            E.thereWaSinterdependenceamongthemembersoftheconspiracy;thatis'
                                                                        to act together for their
                   the members, in some way or manner' intended
                                                              of the conspiracy charged'
                   shared mutual benefit within the scope


                                                                              371 lsi not more
            The maXimum statutOry penalty fOr a viO!ation of18 U S C§

      than 5 yearS(60 months)implSOnment;nOt more than S250,000 1ne,Or bothi not more

      than 3 years superViSed re!eaSei$100 Speclal assessmentfeei p!us restitution and
                                                    2
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     forfeiture as described below.

                 It probation or supervised release is imposed, a violation of any condition of

         probation or supervised release may result in a Separate prison sentence and additional

         supervision.

                                    IV. COLLATERAL CONSEQUENCES

                 The conviction may cause the loss of civil rights, including but not limited to the

         rights to possess firearms, vote, hold elected office, and sit on a lury.

                                        V. STIPULATION OF FACTS

                 The parties agree that there is a factual basis for the guilty plea that the

         defendant will tender pursuant to this plea agreement. That basis is set forth below.

         Because the Court must, as part of its sentencing methodology, compute the advisory

         guideline range for the offense[s] of conviction, consider relevant conduct, and consider

         lhe other factors set forth in '18 U.s.c. $ 3553, additional facts may be included below

     which are pertinent to those considerations and computations. To the extent the parties

         disagree about the facts set forth below, the stipulation of facts identifies which facts

         are known to be in dispute at the time of the execution of the plea agreement.

                 This stipulation of facts does not preclude either party from hereafter presenting

         the Court with additional facts which do not contradict facts to which the parties have

         stipulated and which are relevant to the Court's guideline computations, to other 18

         U.S.C. S 3553 factors, or to the Court's overall sentencing decision.
     '           The parties agree that the date on which relevant conduct began is on or about

         2007.

                 The parties agree as fgllows:

                                       rr3
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          The defendant,Marie Dalton,at a‖ times relevantto the charges in the

    :ndictment,Was married to her CO‐ defendantin thiS Case,Richard Dalton Beginning in

    2007,and Continuing through 201 0,the Daltons'primary source ofincome was from a
                                                                            ed Universal
    company founded by Richard DaltOn based in Golden,Co:Ora00,Ca‖

    Consuling Resources LLC(     UCR"))a‖ mled‖ ab‖ ity∞ mpany formed in New MexiC。

    Richard Da:ton Operated UCR from hiS residence at 927 Coie Streetin Goldenl

    Colorado(the   Cole Street P「 Openプ リ UCR alSO used a UPS bOX,Iocated at 14405 W

    cOrax Ave,Suite 292,Go!den,Co10rado

           Through UCR,the DaLons SO‖ Cited investors to purchase interests in investment
                                                                               Diamond
    contractS,general!y referred tO as eitherthè̀Trading Program,"Or the

     Program" The Trading Program began in approXirnately 2007,and the Diamond
                                                                         lnvestment
     Program began in approximately 2009 1nVestorS Signed the UCR

     structure Agreement,"whiCh Stated that investOrs'money WOu!d be piaced into an

     escroW account,and transferred as necessary to UCR trading accOunts,and thatthe

     escrOW account would be uSed tO receive prttts from inVestments

           Fo「 bOth the Trading Program and Diamond Program,inVestors were guaranteed

                                                                                   ntracts Were
     a specllC rnonthly return. The Daltons told inVeStors that the investment∞
                                                                                     UCR,LLC
     extremely 10W ISk ln addilOn,the lnVestment Structure Agreement stated,

     account rnanagementis re‐ enfOrced by the evaluation oftOp professionai and HCensed

     Third Paw SeⅣ iCes in inveStment and trade transaCtiOns."The investment StruCture
                                                Can CanCe!this Agreement at any lme and
     Agreement alsO provided,   [aln investO「

                                                            Other proceeds frOm proflts be
     request that a‖ rnoney as principalinvestment and a‖


     returned."The investment Structure Agreementforthe Diamond Program was neany
                                                   4
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                                                                               'Financial
     identical to that of the Trading Program, except that the deflnition of

     lnstruments," to be traded for profit, was expanded to include "precious stones.

            lnvestor funds were deposited into UCR's Bank of America account # xxxx

     xxxx 4794, located in New Mexico, and checks for purported profit payments back to
     investors were written on this account. Both Richard Dalton and Marie Dalton had
                                                                                             of
     signatory authority over the ucR bank account, and were both "Member/Managers"

     UCR.

            lnvestors from thirteen states and five foreign countries invested approximately

     $17,OOO,OOO in UCR. The Daltons made false statements
                                                                  to these investors, including:

     retums were guaranteed, typically in the range ot 48 1o 120% annually; returns would

     be paid monthly from profitable intemational note trading and diamond trading; the ucR

      investment programs were extremely low risk; investors'money could be returned at

      any time; UCR accounts were evaluated by top professional and licensed Third Party

     services; and, the invested funds would be held safely in an escrow account at a bank

      in the United Statds, and that a European trader (often referred to simply as'the

     Trader,,, but never known or referred to by name), would use lhe value of that account,

      but not the actual funds, to obtain leveraged funds to purchase and sell bank notes.

      Richard Dalton and Marie Dalton both told some investors that the UCR investment

      programs were extremely low risk. These statements were false. UCR was operated

      as a classic Ponzi scheme, wherein investor funds were commingled and used to pay

      out purported profits to early investors to create the false appearance that the

      investments were performing as promised.

            At times, Marie Dalton performed bookkeeping duties for UCR, and participated
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     in recruiting investors. Along with her husband, Richard Dalton, Marie Dalton engaged

     in discussions with potential investors regarding the investments. Marie Dahon

     established the email accrunt to which investors were directed to send investment

     questions.

            The Daltons used investor funds to pay personal expenses. For example,

     Richard Dalton caused the wire transfer of $910,000 of UCR investor funds to purchase

     the Cole Street Property in Marie Dalton's name. Originally, UCR was the purchaser,

     but the contract was transferred from UCR to Marie Dalton. Also, Marie Dalton wrote

     checks on the UCR bank account, and drafted a check from ihis account to Burt Toyota

     to purchase a 20OB Toyota Highlander registered to UCR. Marie Dalton drafted some

     of the checks for payment to UCR investors, and Richard Dalton signed the checks.

     Marie Dalton indicated on some of these checks an amount remaining. Marie Dalton

     also draffed a $35,000 check to Wheat Ridge Dental for payment of Richard Dalton's

     dental work. All the deposits into the UCR bank account came from investor payments.

            Marie Dalton purchased the Cole Street property wilh funds Richard Dalton

     transfened from the UCR bank account to Arcanum Commodities Group, where the

     funds were deposited into an account at a toreign financial institution. On April 22,

     2008, Richard Dalton transferred $500,000 from the UCR Bank of America account #

     XXXX XXXX 4794 to Deutsche Bank account # XXXX1229, located in Singapore. On

     April 23, 2008, Richard Dalton transfened another $500,000 from the UCR Bank of

     America account # XXXX XXXX 4794 to the same Deutsche Bank account #

     XXXX1229. On July 2,2009, the Dallons caused $910,298.08 of the UCR investor

     funds to be transferred from Liechtensteinische Landesbank, located in Zurich,
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          t.




                                                                                              Cole street
                                                         for the purpose of purchasing the
        switzerland, into the State of Colorado

        proPertY'
                                                                substantialpayments from the ucR
                                                                                                 bank
               The Daltons,famlly members received
                                                                                              of the Daltons'
                                                          received $118'050 and anothar
        account. one of the Datton's daughters

        daughtersreceived$2S6,660.PaymentsfromfioUCRbankaccounttoDaltonfamily
                                                                              members
                                           to $173'000 in paymentsfrom famlly
        membere totaled $660,710' compared

        toUeR.NeitherRtchardDaltonnorMarleDaltonmadeanypaymentstoUCR.
                ynZalo,uponleamingthatRichardDaltonandUCRwereunderlnvestigationby
                                                                                                       mission
                                                             an entlty of the United states whose
        the securities and Exchange commission,
                                                                                        and facllitate capital
                                                fair, orderly, and etficient markets'
         is to protoct investors, maintaln

         formationtheDaltonsdiscontlnuedmakingpurportedprofitpayrnentstoinvestors-
                                                                                     lultirg
                                               funds of new investqrs- and commenced
         whlch were in fact simply eomrninglod
                                           limited to:
         activtties, including but not

                A.falselyrepresentingtolnvestorsthattheyshouldexpectfundssoon:

                B.falselyrepresentingtoinvestorsthat',theTrade/,UCRwasusinghadto

         switch banks causlng delaYs;
                                                                    could request a return of their
                 C.           tatsely representing that investors

          investmentandtherequestwouldbehonoredinaccordancewiththeagreement,

          ultimatelyrepresentingthatUCRwouldreturninvestorfundsonorbeforeAugust20l0;

           and g6orl oe lla \1,?* Ld elt-                                                                 caehe
                                                                           lhar ucR was liquldating a
                    D.,       fatse;';;;tstrng in septernber 2010,
                          1
           ofdiamondstopayinvestorfundsback.butthataplanecarryingthediamondshadthe

           numberthreeenginegooutandhadtolandlnAmsterdamithatamongs0,000carats
                                                                7
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     were 18,000 fake diamonds; and other fraudulent lulling statements. On August 20,

     2010, Marie Dalton left an outgoing message on the UCR voicr mailbox for investors

     represenling that checks were going out soon in the order of an investors' contribution

     to the programs, and promised that everyone would be repaid in the next two to three

     weeks.

              On 81251201Q the SEC attempted to depose Richard Dalton concerning his and

     Marie Dalton's activities related to UCR. Richard Dalton mostly refused to answer

     questions, asserting his Fifth Amendment right. On October 7, 2010, the SEC deposed

     Marie Dalton concerning her and her husband's activities related to UCR. At times,

     Marie Dalton declined to answer questions on the basis of spousal communications

     privilege and on the basis of a vicarious assertion of her husband's Fifth Amendment

     right.

              On November 16, 2010, the SEC filed formal action against Richard Dalton and

     UCR in the District Court of Colorado and documents were seNed on the Daltons the

    same date. On November 20, 2010, the Daltons left together from the United States for

     South Africa. Between October 15,2008, and April 1,2O1O, Richard Dalton had

    transferred from the UCR bank account $787,525 of investor funds to accounts both

    overseas and domestic, controlled by Henry Anthony Montgomery, a friend of lhe

    Daltons. The Daltons remained in South Africa until they were detained by South

    African authorities on September 28,2011 and forced to relurn to the United States

    where they were arrested in Atlanta, Georgia, on September 30,2011, on federal

    warrants related to the instant indictment.

              The parties agree that the net loss resulting from the defendant,s conduct as set
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   forth aboVe iS rnore than S2.5 mi!liOn and less than S7 milliOn.



                                                                             this matter is
                                          the imposition of a sentence in
          The parties understand that
                                                       the particular sentence to be imposed'
   governed by 18 U.S C' 53553 In determining
                                                                                         sentencing
                                     seven     factors' One of those factors is the
   the Court is required to consider
                                                                          by the United States
                                      under advisory guidelines issued
    range computed by the Court
                                                                                              forth
                              order to aid the        Court in this regard' the parties set
    Sentencing Commission' ln
                                                                                           states
                                            guiderine range calred for by the united
    berow their estimate of the advisory
                                                                                        guideline
                                  extent that      the parties disagree about the
    sentencing Guiderines. To the
                                                                                              The
                                       identifies      the matters which are in dispute'
    computations, the recitation below
                                           U'S'S G' Manual'
    parties have relied upon lhe 2012
                                                             with a base offense level of 6'
            Ａ




                   The base guideline is S 281'1(a)(2)
             Ｂ




                   Thefollowingspecificoffensecharacteristicsapplypursuantto$

     2Bl.1(b):
                                                                      281'1(b)(1XJ) because the
                    1   .    An 18-level increase applies under S
                                                             but less than 7 million'
                             loss is more than 2'5 million
                                                                   281 I(bX2)(B) becausethe
                    2.       A4-level incleaseappliesunderS
                                                             but less than 250 victims'
                              offense involved 50 or more
                                                                    281'1(bxlOXA) and (C)
                    3.        A 2Jevel increase applies under S

                              becausetheoffenseinvolvedsophisticatedmeans,NoTE:The
                                                                                              this two-
                                                              to contest the application of
                              defendant reseNes the right

                              level enhancement'
                                                      or multiple count adjustments'
              C         There are no victim-related
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            D.     The adjusted offense level therefore would be 30'

            E.Thedefendantshouldreceivea3.leveldecreaseforacceptanceof

     responsibilityunderss3El.l(a)and(b).Theresultingoffenselevelthereforewouldbe

     27.

            F.     The parties understand that the defendants criminal history computation

     istentative.ThecriminalhistorycategoryisdeterminedbytheCourtbasedonthe
                                                                     available to the parties, it
     defendanfs prior convictions. Based on information currently

     isestimatedthatthedefendant,scriminalhistorycategorywouldbel.

            G. The career offender/criminal livelihood/armed career criminal adjustments
     would not aPPlY.

            H,Theadvisoryguide|inerangeresultingfromthesecalculationsisT0-87
                                                        possible, with the criminal history
     months. However, in order to be as accurate as

     categoryundeterminedatthistime,theoffenselevelestimatedabovecould
                                                      (bottom of category l) to 162 months (top
     conceivably resuli in a range from 70 months

     ofCategoryVl).Theguidelinerangewouldnotexceed,inanycase,theStatutory

     maximums applicable to the count of convictlon'

             l.PursuanttoguidelineSsEl.2,assumingtheestimatedoffenselevel

     above, the fine range for this offense would be $12,500 to up to the maximum

     authorized by statute, see u.s.s.G. s 5E1. 2(cX3), plus applicable interest and

      penalties.

             J.     Pursuant lo guideline S 5D1.2, if the Court imposes a term of supervised

      release, that term is at least one but not more than 3 years because the count of

      conviction is a Class D felonY'
                                                 10
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           K      Forfeiture of Assets Defendant hnalie Dalton agrees tO fOrfeitto the

                                                             assetS and property,Or portions
    United States immediately and VOiuntarily any and a‖

                                                            981(a)(1)(C),28 U S.C̲§ 2461(c),
    thereof,Subiect tO fOrFeture,pursuantto 18 U S C§

    and18 U S C       §982(a)(1),Whetherin the pOSSession or contro1 0fthe United States or

    in the possession or control ofthe defendant or defendanrs nOminees,or elsewhere
                                                              t‖ mited to:
    The aSSets to be fOrfelted Specttca‖ y include,but are nο

                     1.a money,udgmentin the amount Of$5,二 ,̲̲‑00,WhiCh Sum

    represents the amount of pЮ ceeds obtained as a resuit ofthe cOnspiracy to

    cOmmiVschemeto comml ma‖ and wire fraud:
                    2 a2008 Toyota Highiander Ltd,VIN」 TEES42A182076495:

                     3 927 Cole Street,Golden,CO10rado;

                     4 0ne1/Vebber OM Gutarvvith caSe Sノ N2310,seized frOm Richard and

     Marie Dalton on September 30,201li and
                                                                               oW Gold    ng,
                     5 one 1 05 Caratdiamond,Curren]y partofa 14KT Ye‖

     seized from Marie Dalton on September 30,201l The parties understand that,in

     Orderto return the 14KT Ye1loW Gold ttng withOutthe 1 05 Carat diamond,Mane Dalton

     w‖ lincurthe costs tO haVe a qualtted ieweler extractthe stone


               The defendant agrees and cOnsents to the forfeiture ofthese assets pursuant

     tO any federal crimina!,CiVit and′ Or administrative fOrfeiture actiOn The defendant also

     hereby agrees thatthe Forfeiture desCribed herein iS not eXCessive and,in any event,

     the defendant Waives any constitutional ciaimS thatthe defendant rnay have

               The Unlted States agrees nottO pursue forfeiture of 14706 Columbine Street,

     Brighton,Colorado thrOugh any civi1 0r criminalfOrfeiture actiOn related to the conduct

                                                   ll
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    described in the Factual Basis.

          ThedefendantadmitsandagreesthattheconductdescribedintheFactual

    Basisaboveprovidesasufficientfactualandstatutorybasistoestablishthatthe

    requisitenexusexistsbetweenthespeciflcpropertysubjecttoforfeitureandthe
                                                                to the provisions of Rule
    offenses to which defendant is pleading guilty' Pursuant

    32'2(bX1),theUnitedStalesandthedefendantrequestthatatthetimeofaccepting

    thispleaagreement,theCourtfindthatthegovernmenthasestablishedtherequisite

    nexus and enter a preliminary order of forfeiture'

           DefendantfurtheragreestotakeallstepsnecessarytopasstitletotheUnited
                                                                         of title, the signing of
    States. These steps include, but are not limited to; the surrender

    a consent decree of forfeiture, and signing of any
                                                         other documents necessary to

                                                         agrees fully to assist the government
     effectuate such transfers. To that end, defendant

     intherecoveryandreturntotheUnitedStatesofanyassets,orportionsthereof,as
                                                                   to make a full and complete
     described above wherever located. The defendant agrees
                                                                       and those which are
     disclosure of all assets over which defendant exercises control

     held or controtled bY a nominee.
                                                                                          the
           The defendant agrees that the United states is not limited to forfeiture of

     propertydescribedabove.lftheUnitedStatesdeterminesthatpropertyofthe
                                                                               of due diligence;
     defendant identified for forfeiture cannot be located upon the exercise
                                                                                   placed
     has been transferred or sold to, or deposited with, a third party; has been

     beyond the jurisdiction of the court; has been substantially diminished in value; or has

     been commingled with other property which cannot be divided without difficulty; then

     the United States shall be entitled to forfeiture of any other property (substitute assets)
                                                  12
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                                              property described above pursuant to 21 U'S'C'
    of the de{endant up to the value of any
                                                                                     retain
    S 853(p) and Federal
                           Rutes of Criminal Procedure 32'2(e)' This Court shall

    jurisdicliontosettleanydisputesarisingfromapplicationofthisclause.Thedefendant
                                                                herein shall not be deemed an
    agrees that forfeiture of substitute assets as authorized

    atteration of the defendant's sentence'

           Forfeitureofthedefendant'sassetsshallnotbetreatedassatisfactionofany
                                                            penalty this Court may impose upon
    fine, restitution, cost of imprisonment, or any other

    thedefendantinadditiontoforfeiture.TheUnitedStatesAttorney,sofficeforthe
                                                                to the Attorney General that any
    District of Kansas, as special counsel, will recommend

    netproceedsderivedfromthesaleofthejudiciallyforfeitedassetsberemittedor
                                                              the defendant has pleaded guilty'
    restored to eligible victims of the offenses, for which
                                                                        applicable laws' The
    pursuant to 1 I U S'C. S 981(e), 28 C'F'R pt 9' and any other

    defendantunderstandsthattheUnitedStatesAttorney,sofficehasauthorityonlyto

     recommendsuchreliefandthatthefinaldecisionofwhethertograntreliefrestssolely

    withtheDepartmentofJustice,whichwillmakeitsdecisioninaccordancewith

     applicable law.

            L'TheCourtshal|orderrestitutiontothevictimsoftheoffenseschargednot

     onlyincountone,thecountofconviction.butalsointheremainingcountsofthe

     lndictment.
                                                    the Court will consider the parties'
            The parties understand that although

     estimate,theCourtmustmake.ttsowndeterminationoftheguidelinerange.lndoing
                                        position ofany party'
     so, the Cou( is not bound bythe
                                                                                              party
                                                    the guideline range precludes either
            No estimate by the parties regarding
                                                   13
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    from asking the court, within the overall context of the guidelines, to depart from that

    range at sentencing if that party believes that a departure is specifically authorized by

    the guidelines or that there exists an aggravating or mitigating circumstance of a kind,

    or to a degree, not adequately taken into consideration by the United States Sentencing
                                                                                           parties
    Commission in formulating the advisory guidelines. Similarly, no estimate by the

    regarding the guideline range precludes eilher party from asking the court to vary

    entirely from the advisory guidelines and to impose a non-guideline sentence based
                                                                                                  on


    other 18 U.S.C. S 3553 factors.
                                                                                        proper
            The parties understand that the court is free, upon consideration and
                                                                                           which it
     application of all 18 U.S.c. s 3553 factors, to impose lhat reasonable sentence

     deems appropriate in the exercise of its discretion and that such sentence may be
                                                                                              less


     than that called for by the advisory guidelines (in length or form), within the
                                                                                       advisory

     guideline range, or above the advisory guideline range up to and including

     imprisonment for the statutory maximum term, regardless of any computation or

     position of any party on any 18 U.S.C. 53553 factor'

                                    VII. ENTIRE AGREEMENT
            This document states the parties' entire agreement. There are no other

     promises, agreements (or "side agreements"), terms, conditions, understandings, or

     assurances, express or implied. ln entering this agreement, neither the government nor

     the defendant has relied, or is relying, on any terms, promises, conditions, or

     assurances not expressly stated in this agreement'




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    Datel   02 ,of . 1.1
                                Marie Dalton
                                Defendant



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